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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MARK IANELLI,                                 :
                                              :
                               Plaintiff      :        CIVIL ACTION NO.
   v.                                         :
                                              :        19-CV-04964-RAL
SERGEANT MICHAEL HARVEY,                      :
                                              :
                             Defendant.       :
                                             :
                       AFFIDAVIT OF RYAN     :     ANDERSON, ESQUIRE
                                             :
        I, Ryan Anderson, Esquire, do hereby : swear and affirm that the below billing records and
                                             :
costs accurately reflect the time contemporaneously
                                             :         billed by myself and former Kats, Jamison &
                                             :
Associates Attorney Bryan Hanratty, Esquire. : Time spent on many emails, phone calls and internal
                                             :
discussions of the matter were not contemporaneously
                                             :             tracked and have not been included. The
                                             :
costs reflect those costs paid by Kats, Jamison
                                             : & Associates and do not include any costs borne
                                             :
by the previous firm that represented Plaintiff
                                             :     during the filing of the Complaint, exchange of
                                             :
discovery and the depositions of the parties :in this matter.

BILLING RECORDS AND COSTS
Ryan Anderson Date of Admission 10/17/2005 – 62.6 hours at $580/hour
10/31/22       Call with judge (.2)
2/8/23         Status call with judge (.2)
3/23/23        Call with client regarding trial strategy (.2)
3/29/23        Drafting and forwarding proposed Pre-Trial Memorandum (.8)
3/30/23        Reviewing and offering edits to Joint Pretrial Stipulation (.3)
3/31/23        Drafting/sending Trial Deposition Notion for Dr. Fischer (.2)
               Reviewing and editing Verdict Sheet/emails with A. Pomager (.4)
               Emails regarding scope of Dr. Fischer’s testimony with A. Pomager (.3)
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4/3/23         Reviewing medical records in preparation for Deposition of Dr. Fischer (2.8)
4/4/23         Deposition of Dr. Fischer (1.0)
               Pre-deposition meeting with Dr. Fischer (.6)
4/12/23        Trial Prep with Ianelli (2.4)
4/13/23        Reviewing Motion in Limine to Preclude Lack of Prosecution (.8)
               Reviewing Motion in Limine re Officer Misconduct (.6)
4/14/23        Reviewing videos of incident with notes on specific times of each event (2.4)
               Listening to all 911 calls (1.6)
               Email from A. Pomanger (.1)
4/15/23        Preparing Opening (2.4)
4/16/23        Reviewing Deposition of Ianelli (.8)
               Reviewing Deposition of Harvey (.9)
               Preparing/Editing/Practicing Opening (2.1)
4/17/23        Preparing/Editing/Practicing Opening (1.2)
               Email from A. Pomager re Willful Misconduct Jury Instruction (.1)
               Preparing Direct Examination of Ianelli (2.6)
               Preparing Cross-examination of Harvey (2.1)
               Responding to Pre-trial Motion to Preclude Evidence of Prior Wrongdoing (.7)
               Responding to Pre-trial Motion to Preclude Evidence of Charges Dropped (2.2)
               Responding re Brief on Willful Misconduct (.7)
               Meeting to review Courtroom technology (.3)
               Trial Prep with Ianelli (2.2)
4/18/23        Preparing/editing/practicing Opening 1.0
               Jury Selection/trial 6.2
4/19/23        Meeting with client before and after trial (1.2)
               Trial 6.1
               Reviewing/editing/practicing Closing 2.0
4/20/23        Reviewing/editing/practicing Closing 1.2
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               Trial closing/jury deliberations 7.5
5/3/23         Drafting Petition for Attorneys’ Fees 4.2


                                                             Sub-Total       $36,308.00
Bryan Hanratty Date of Admission 4/25/2019 - 11.7 hours at $235/hour
5/8/2020       Drafting Plaintiff’s Response to Defendant’s Motion for Summary Judgment
               (10.1)
5/22/2020      Drafting Plaintiff’s Sur Reply to Defendant’s Reply – Motion for Summary
               Judgment (1.6)
                                                             Sub-Total       $2749.50


Costs
5/20/2020      Court Reporting Depositions                                   $1036.55
3/28/2023      Deposition fee of Dr. Michael Fischer                         $4000.00
4/11/2023      Court Reporting Trial Deposition of Dr. Fischer               $223.60
                                                             Sub-Total       $5260.15
                                                             TOTAL                 $44,317.65




                                                      Respectfully submitted,




                                                      By:
                                                             Ryan Anderson, Esquire
